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 8                  United States District Court
 9                  Central District of California
10                       Western Division
11

12    KELVIN HERNANDEZ ROMAN, et al.,                    ED CV 20-00768 TJH
13                      Petitioners-Plaintiffs,
14          v.                                                   Order
15    CHAD T. WOLF, et al.,
16                      Respondents-Defendants.
17

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19

20         The Court has considered the Government’s ex parte application to re-detain
21   class member Afa Folasa to execute his removal [dkt # 958], together with the moving
22   and opposing papers.
23

24         It is Ordered that the ex parte application be, and hereby is, Granted.
25

26         It is further Ordered that in the event that Folasa is not removed as currently
27   scheduled by the United States Immigration and Customs Enforcement in the first week
28   of February, 2021, Folasa must be returned to the San Francisco, California area and

                                                                      Order – Page 1 of 2
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                                        CC: USM
